                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                Alexandria Division


 ELECTRONIC PRIVACY INFORMATION
 CENTER, et al.,

                       Plaintiffs,

           v.                                        No. 1:25-cv-0255 (RDA/WBP)

 U.S. OFFICE OF PERSONNEL
 MANAGEMENT, et al.,

                       Defendants.


                                           NOTICE

       The parties, pursuant to the Court’s February 14, 2025 Order (ECF No. 11), state as

follows.

       The Court’s February 14 Order directed the parties “to inform the Court whether the parties

intend to introduce live testimony” at the February 21 hearing on Plaintiffs’ Motion for a

Temporary Restraining Order. See February 14 Order at 1.

       Plaintiffs and Defendants do not intend to introduce live testimony at the hearing.
Dated: February 19, 2025                      Respectfully submitted,
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                               CERTIFICATE OF SERVICE

       I certify that on February 19, 2025, I filed the foregoing with the Clerk of Court using
the CM/ECF system, which will send a notification of such filing (NEF) to all counsel of record.


                                                    /s/
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